Case 1:05-cr-10050-.]DT Document 10 Filed 08/16/05 Page 1 of 2 Page|D 11

|N THE UN|TED STATES D|STR|CT COURT `
FOR THE WESTERN D|STR|CT OF TENNESSEE HLED BY D
EASTERN D|V|S|ON ‘**"*""'~ C

 

 
     
 

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UN|TED STATES OF AMER|CA,
THO?M.S GOULD
Plaintiff, Ct§l~‘ " "Tl§l]"l COUP.'l
w '!i€;‘#i$t)f'\a'
v. Cr. No. 05-10050-T/An

G|enn Keith Snead,

Defendant.

 

ORDER ON ARRA|GN|V|ENT

 

This cause came to be heard on August 16, 2005. The Assistant United States Attorney
appeared on behalf of the governmentl and the defendant appeared in person and with the
following counsel, who is appointed:

NAl\/|E: Dianne Smothers, Asst. Federa| Defender
ADDRESS:

TELEPHONE:

The defendant, through counse|, waived formal arraignment and entered a plea of not
guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extendedl

4 The defendant, Who is_not in custody, may stand on his/her present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody of the

 

 

U.S. l\/larsha|.
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S. THOMAS ANDERSON
United States |Vlagistrate Judge
Charges: bank robbery

Assistant U.S. Attorney assigned to oase: |vy
Ru|e 32 was not Waived.

Defendant's ages 50

This document entered on the docket§eet in corEBliance
with Rule 55 and/or 32(b) FRCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CR-10050 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Victor Lee lvy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

